                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

           Plaintiff,                           Case No. 1:20−cr−183

    vs.                                         Hon. Robert J. Jonker

BARRY GORDON CROFT, JR,

           Defendant.
                                       /

                    ORDER SCHEDULING PROGRESSION OF CASE

E−filing of Initial Pretrial Conference Summary Statement
The parties have each e−filed an Initial Pretrial Conference Summary Statement, and the
initial pretrial conference was held.
Filing of Rule 12(b) Motions
All motions shall be filed within twenty−one (21) days from the date of the initial pretrial
conference of the defendant, unless otherwise ordered.
Initial Discovery
The provisions of the court's Standing Order Regarding Discovery in Criminal Cases
(Administrative Order 20−RL−066) shall apply to the parties named above. The Standing
Order is available on the court's website at www.miwd.uscourts.gov, under Rules, Orders &
Policies/Administrative Orders. Sanctions may be imposed for failure to follow the court's
Standing Order Regarding Discovery in Criminal Cases.


IT IS SO ORDERED.


Dated: January 14, 2021                     /s/ Sally J. Berens
                                           UNITED STATES MAGISTRATE JUDGE
